                                       Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 1 of 46




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                                   2                                 UNITED STATES DISTRICT COURT

                                   3                                NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5    PLANNED PARENTHOOD                             Case No. 16-cv-00236-WHO
                                        FEDERATION OF AMERICA, INC., et al.,
                                   6                  Plaintiffs,                      FINAL VERDICT FORM
                                   7           v.
                                   8
                                        CENTER FOR MEDICAL PROGRESS, et
                                   9    al.,
                                                      Defendants.
                                  10

                                  11                                    Verdict Form
                                  12
Northern District of California
 United States District Court




                                  13          Planned Parenthood et al. v. Center for Medical Progress, et al.
                                  14

                                  15
                                       Introduction

                                  16         This verdict form is divided into sections A through K. Complete
                                       sections A through J to determine whether the Defendants are liable to the
                                  17   Plaintiffs on each of the Plaintiffs’ claims. You must complete each of
                                  18   sections A through J.
                                  19         Section K is used to determine the amount of punitive damages. Only
                                  20   complete Section K if you found at least one Plaintiff suffered harm on at
                                       least one claim in Sections A, E through F, and H through J.
                                  21
                                             You must follow the law provided to you in the Jury Instructions in
                                  22
                                       answering the questions in this Verdict Form. After each question, a cross-
                                  23   reference to the most pertinent jury instructions is listed in [bracketed text].
                                  24          Some of the questions require you to answer YES or NO to more than
                                  25   one Defendant. You must give an answer for each Defendant listed for a
                                       question. Within each section, there are instructions after each question that
                                  26   will tell you whether to answer the next question or to skip ahead to another
                                  27   question or to the next section.
                                  28         Your answers must be unanimous for each question that you are
                                                                                   i
                                       Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 2 of 46




                                   1

                                   2   required to answer.
                                   3
                                            Ask the court clerk if you need additional copies of this form.
                                   4
                                              Once you have reached a unanimous verdict on all questions that you
                                   5   are required to answer, the presiding juror should sign the verdict form and
                                   6   notify the court clerk that you are ready to present your verdict in the
                                       courtroom.
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                                  12
Northern District of California
 United States District Court




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     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 3 of 46




                        Section A—Trespass
   1. In what amount, if any, was PPFA damaged by Defendants Daleiden,
      Lopez, BioMax, and CMP’s trespasses at the 2014 Forum, 2015
      MeDC, and the 2015 National Conference?

     [Instructions II.B.1; II.L.1-3, 5-7]

    Damage
                         Plaintiff              Awarded Damages
    Category

Infiltration         PPFA

Security             PPFA
                     (Nucatola)
                     (Ginde)
                     (Monitoring)

Answer the next question.

   2. Did any Defendant conspire with Daleiden, Lopez, BioMax, or CMP to
      trespass at PPFA’s conferences?

     [Instructions II.K.1-2]


     A. Albin Rhomberg                ___________Yes      ___________No


     B. Troy Newman                   ___________Yes      ___________No

Answer the next question.




______________________________________________________________________________
                                        1
Section A—Trespass
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 4 of 46




   3. In what amount, if any, was PPFA damaged by Defendants Daleiden,
      Merritt, BioMax, and CMP’s trespass at the PPRM Stapleton Health
      Center?

     [Instructions II.B.2; II.L.1-3, 5-7]

    Damage
                         Plaintiff              Awarded Damages
    Category

Security             PPFA
                     (Ginde)


Answer the next question.

   4. Did any Defendant conspire with Daleiden, Lopez, Merritt, or CMP to
      trespass at the PPRM Stapleton Health Center?

     [Instructions II.K.1-2]


     A. Albin Rhomberg                ___________Yes      ___________No


     B. Troy Newman                   ___________Yes      ___________No



Answer the next question.




______________________________________________________________________________
                                        2
Section A—Trespass
        Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 5 of 46




     5. In what amount, if any, was PPGC/PPCFC damaged by Daleiden,
        Merritt, BioMax, and CMP’s trespass at the PPGC/PPCFC Health
        Center?

        [Instructions II.B.3; II.L.1-3, 5-7]


       Damage
                            Plaintiff               Awarded Damages
       Category

    Security           PPGC/PPCFC
                       (Farrell)


Answer the next question

     6. Did any Defendant conspire with Daleiden, Lopez, BioMax, or CMP to
        trespass at the PPGC/PPCFC Health Center?

        [Instructions II.K.1-2]


        A. Albin Rhomberg                ___________Yes    ___________No


        B. Troy Newman                   ___________Yes    ___________No

.


                              * * * End of Section * * *




______________________________________________________________________________
                                           3
Section A—Trespass
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 6 of 46




   Section B—Breach of PPFA Exhibitor Agreements

Liability


   1. Did any Defendant breach the 2014 Forum Exhibitor Agreement by
      violating an applicable law concerning fraud or privacy in performing
      their respective obligations under the contract?

      [Instructions II.C.1-3, 5]


      A. David Daleiden             ___________Yes        ___________No


      B. BioMax                     ___________Yes        ___________No


      C. CMP                        ___________Yes        ___________No

Answer the next question.

   2. Did any Defendant breach the MeDC Exhibitor Agreement by
      violating an applicable law concerning fraud or privacy in performing
      their respective obligations under the contract?

      [Instructions II.C.1-3, 5]

      A. David Daleiden             ___________Yes        ___________No


      B. BioMax                     ___________Yes        ___________No


      C. CMP                        ___________Yes        ___________No

Answer the next question.
______________________________________________________________________________
                                      4
Section B—Breach of PPFA Exhibitor Agreements
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 7 of 46




   3. Did any Defendant breach the 2015 PPFA National Conference
      Exhibitor Agreement by violating an applicable law concerning fraud
      or privacy in performing their respective obligations under the
      contract?

     [Instructions II.C.1-3, 5]

     A. David Daleiden              ___________Yes        ___________No

     B. BioMax                      ___________Yes        ___________No

     C. CMP                         ___________Yes        ___________No

Answer the next question.




______________________________________________________________________________
                                      5
Section B—Breach of PPFA Exhibitor Agreements
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 8 of 46




Damages

   4. In what amount, if any, was PPFA damaged by breach of the PPFA
      Exhibitor Agreements, including the breaches that the Court has
      already found?

     [Instructions II.C.4-5; II.L.1-2, 4-7]


    Damage
                         Plaintiff              Awarded Damages
    Category

Infiltration        PPFA

Security            PPFA
                    (Nucatola)
                    (Ginde)
                    (Monitoring)


                           * * * End of Section * * *




______________________________________________________________________________
                                       6
Section B—Breach of PPFA Exhibitor Agreements
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 9 of 46




           Section C—Breach of NAF Agreements

   1. In what amount, if any, was each Plaintiff damaged by the breach of
      the 2014 NAF Agreements and 2015 NAF Agreements by
      Defendants Daleiden, BioMax, Merritt, Lopez, BioMax, and CMP?

     [Instructions II.C.6; II.L.1-2, 4-7]

    Damage
                         Plaintiff              Awarded Damages
    Category

Security            PPFA
                    (Nucatola)


                           * * * End of Section * * *




______________________________________________________________________________
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Section C— Breach of NAF Agreements
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 10 of 46




           Section D—Breach of PPGC Agreement

   1. Did any Defendant breach the PPGC Nondisclosure Agreement?

     [Instructions II.C.1-3, 7]


     A. David Daleiden          ___________Yes          ___________No


     B. BioMax                  ___________Yes          ___________No


     C. CMP                     ___________Yes          ___________No

If you answered Yes as to any Defendant, answer the next question.
Otherwise, skip to the next Section.

   2. In what amount, if any, was PPGC damaged by the breach of the
      PPGC Nondisclosure Agreement?

     [Instructions II.C.7; II.L.1-2, 4-7]


    Damage
                         Plaintiff               Awarded Damages
    Category

Security            PPGC
                    (Farrell)


                           * * * End of Section * * *



______________________________________________________________________________
                                        8
Section D— Breach of PPGC Agreement
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 11 of 46




                           Section E—Fraud

Intentional Misrepresentation

   1. Did any Defendant commit fraud or conspire to commit fraud through
      intentional misrepresentation? If Yes, as to which Plaintiff(s)?

     [Instructions II.D.1-2, 4-7; II.K.1-2]


     A. David Daleiden               ___________Yes       ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV




     B. Sandra Merritt               ___________Yes       ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV




     C. Adrian Lopez                 ___________Yes       ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV



______________________________________________________________________________
                                        9
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 12 of 46




     D. BioMax                      ___________Yes        ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV




     E. CMP                         ___________Yes        ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV




     F. Albin Rhomberg              ___________Yes        ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV




     G. Troy Newman                 ___________Yes        ___________No


           If Yes, as to which Plaintiff(s)?
           _____PPFA _____PPGC _____PPOSBC _____PPPSGV


If you answered Yes to any Defendant, answer the next question.
Otherwise, skip to Question 3.
______________________________________________________________________________
                                      10
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 13 of 46




   2. In what amount, if any, was each Plaintiff damaged by the fraud?

     [Instructions II.D.2; II.L.1-3, 5-7]


    Damage
                         Plaintiff              Awarded Damages
    Category

Infiltration        PPFA

Security            PPFA

Security            PPGC

Security            PPOSBC

Security            PPPSGV


Answer the next question.




______________________________________________________________________________
                                        11
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 14 of 46




False Promise Fraud

PPFA Exhibitor Agreements

   3. Did any Defendant commit or conspire to commit false promise fraud
      in connection with the PPFA Exhibitor Agreements?

     [Instructions II.D.1, 3-6; II.K.1-2]


     A. David Daleiden               ___________Yes       ___________No


     B. Sandra Merritt               ___________Yes       ___________No


     C. Adrian Lopez                 ___________Yes       ___________No


     D. BioMax                       ___________Yes       ___________No


     E. CMP                          ___________Yes       ___________No


     F. Albin Rhomberg               ___________Yes       ___________No


     G. Troy Newman                  ___________Yes       ___________No


If you answered Yes as to any Defendant, answer the next question.
Otherwise, skip to Question 5.




______________________________________________________________________________
                                       12
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 15 of 46




   4. In what amount, if any, was PPFA damaged by the false promise
      fraud?

     [Instructions II.D.3; II.L.1-3, 5-7]


    Damage
                         Plaintiff            Awarded Damages
    Category

Infiltration        PPFA

Security            PPFA
                    (Nucatola)
                    (Ginde)
                    (Monitoring)


Answer the next question.




______________________________________________________________________________
                                       13
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 16 of 46




PPGC NDA
   5. Did any Defendant commit or conspire to commit false promise fraud
      in connection with the PPGC Nondisclosure Agreement?

     [Instructions II.D.1, 3-6; II.K.1-2]


     A. David Daleiden               ___________Yes       ___________No


     B. Sandra Merritt               ___________Yes       ___________No


     C. Adrian Lopez                 ___________Yes       ___________No


     D. BioMax                       ___________Yes       ___________No


     E. CMP                          ___________Yes       ___________No


     F. Albin Rhomberg               ___________Yes       ___________No


     G. Troy Newman                  ___________Yes       ___________No


If you answered Yes as to any Defendant, answer the next question.
Otherwise, skip to the next Section.




______________________________________________________________________________
                                       14
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 17 of 46




   6. In what amount, if any, was PPGC damaged?

     [Instructions II.D.3; II.L.1-3, 5-7]

    Damage
                         Plaintiff             Awarded Damages
    Category

Security            PPGC
                    (Farrell)




                           * * * End of Section * * *




______________________________________________________________________________
                                        15
Section E—Fraud
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 18 of 46




                           Section F—RICO
   1. Did any Defendant violate RICO or conspire to violate RICO?

     [Instructions II.E.1-12]


     A. David Daleiden          ___________Yes      ___________No


     B. Sandra Merritt          ___________Yes      ___________No


     C. Adrian Lopez            ___________Yes      ___________No


     D. BioMax                  ___________Yes      ___________No


     E. CMP                     ___________Yes      ___________No


     F. Albin Rhomberg          ___________Yes      ___________No


     G. Troy Newman             ___________Yes      ___________No


If you answered Yes to any Defendant, answer the next question.
Otherwise, skip the rest of this Section.




______________________________________________________________________________
                                      16
Section F—RICO
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 19 of 46




   2. In what amount, if any, was each Plaintiff damaged by Defendants’
      violation of RICO?

     [Instructions II.E.2; II.L.1-3, 5-7]

    Damage
                         Plaintiff              Awarded Damages
    Category

Infiltration        PPFA

Security            PPFA

Security            PPGC

Security            PPOSBC

Security            PPPSGV


                           * * * End of Section * * *




______________________________________________________________________________
                                        17
Section F—RICO
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 20 of 46




      Section G—Recording (California Penal Code)

   1. For each recording below, answer “Yes” or “No” as to whether a
      Plaintiff has established the recording violated Penal Code 632. If
      you find a recording violated Penal Code 632, answer whether the
      Defendant established all the elements of a defense under Penal
      Code 633.5.

     [Instructions II.G.1-5]


        A. PPNorCal via Dr. Drummond-Hay at NAF 2014

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i. Daleiden    __________Yes ___________No

                    ii. Merritt     __________Yes ___________No

        B. PPFA via Dr. Nucatola at NAF 2014 - First Recording

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i. Merritt     __________Yes ___________No

        C. PPFA via Dr. Nucatola at NAF 2014 - Second Recording

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i. Merritt     __________Yes ___________No


______________________________________________________________________________
                                      18
Section G—Recording (California Penal Code)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 21 of 46




        D. PPFA via Dr. Nucatola at Craft Restaurant

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i.   Daleiden __________Yes __________No

                    ii.   Merritt   __________Yes ___________No

        E. PPPSGV via Dr. Gatter at a/k/a Bistro

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i. Daleiden    __________Yes __________No

                    ii. Merritt     __________Yes ___________No

        F. PPPSGV via Felczer at a/k/a Bistro

              a. Violation?         __________Yes ___________No

              b. 633.5 Defense?

                     i. Daleiden    __________Yes __________No

                    ii. Merritt     __________Yes ___________No


Answer the next question if you found at least one recording violated Penal
Code 632 and at least one Defendant did not establish a 633.5 defense.
Otherwise, skip to the next Section.




______________________________________________________________________________
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Section G—Recording (California Penal Code)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 22 of 46




   2. In what amount, if any, was each Plaintiff damaged by Defendant(s)’
      violation of Penal Code 632?

      [Instructions II.G.1; II.L.1-3, 5-7]

    Damage
                             Plaintiff             Awarded Damages
    Category

Security             PPFA
                     (Nucatola)

Security             PPPSGV


Answer the next question.

   3. Which Defendants, if any, conspired to violate Penal Code 632?

   [Instructions II.K.1-2]


      A. David Daleiden           ___________Yes           ___________No

      B. Sandra Merritt           ___________Yes           ___________No

      C. Adrian Lopez             ___________Yes           ___________No

      D. BioMax                   ___________Yes           ___________No

      E. CMP                      ___________Yes           ___________No

      F. Albin Rhomberg           ___________Yes           ___________No

      G. Troy Newman              ___________Yes           ___________No


                              * * * End of Section * * *
______________________________________________________________________________
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Section G—Recording (California Penal Code)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 23 of 46




             Section H—Recording (Florida Law)
   1. For each recording below, answer “Yes” or “No” as to whether a
      Plaintiff has established the recording violated Florida Law.

     [Instructions II.H.1-2]

        A. PPFA via Dr. Nucatola at 2014 Forum - First Recording by

           Adrian Lopez and David Daleiden

           __________Yes ___________No



        B. PPFA via Dr. Nucatola at 2014 Forum - Second Recording by

           Adrian Lopez and David Daleiden

           __________Yes ___________No



        C. PPFA via K. Shea at 2014 Forum by Adrian Lopez and David

           Daleiden

           __________Yes ___________No



        D. PPPSGV via Dr. Gatter at 2014 Forum by Adrian Lopez and

           David Daleiden

           __________Yes ___________No


______________________________________________________________________________
                                      21
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 24 of 46




        E. PPCCC via Dr. Siegfried at 2014 Forum by Adrian Lopez and

           David Daleiden

           __________Yes ___________No



        F. PPRM via Dr. Ginde at 2014 Forum by David Daleiden

           __________Yes ___________No



        G. PPFA via J. Gupta at 2015 MeDC - First Recording by Adrian

           Lopez and David Daleiden

           __________Yes ___________No



        H. PPFA via J. Gupta at 2015 MeDC - Second Recording by

           Adrian Lopez and David Daleiden

           __________Yes ___________No



        I. PPFA via Dr. Nucatola at 2015 MeDC - First Recording by

           Adrian Lopez and David Daleiden

           __________Yes ___________No




______________________________________________________________________________
                                      22
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 25 of 46




        J. PPFA via Dr. Nucatola at 2015 MeDC - Second Recording by

           Adrian Lopez and David Daleiden

           __________Yes ___________No



        K. PPFA via D. VanDerhei at 2015 MeDC by Adrian Lopez and

           David Daleiden

           __________Yes ___________No



        L. PPPSGV via Dr. Mary Gatter at 2015 MeDC by Adrian Lopez

           and David Daleiden

           __________Yes ___________No



        M. PPOSBC via Dr. Russo at 2015 MeDC by Adrian Lopez and

           David Daleiden

           __________Yes ___________No



        N. B. PPGC via B. Smith at 2015 MeDC by David Daleiden

           __________Yes ___________No




______________________________________________________________________________
                                      23
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 26 of 46




        O. PPPSW via Dr. Moran at 2015 MeDC by Adrian Lopez and

           David Daleiden

           __________Yes ___________No



        P. PPPSW via Dr. Nguyen at 2015 MeDC by Adrian Lopez and

           David Daleiden

           __________Yes ___________No


Answer the next question if you found at least one recording violated
Florida law. Otherwise, skip to the next Section.




______________________________________________________________________________
                                      24
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 27 of 46




   2. In what amount, if any, was each Plaintiff damaged by Defendant(s)’
      violation of Florida law?

     [Instructions II.H.1; II.L.1-3, 5-7]

    Damage
                         Plaintiff             Awarded Damages
    Category

Security            PPFA
                    (Nucatola)
                    (Ginde)

Security            PPOSBC

Security            PPPSGV

Answer the next question.




______________________________________________________________________________
                                        25
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 28 of 46




   3. Which Defendants, if any, conspired to violate Florida law?

   [Instructions II.K1-2]


      A. David Daleiden        ___________Yes            ___________No

      B. Sandra Merritt        ___________Yes            ___________No

      C. Adrian Lopez          ___________Yes            ___________No

      D. BioMax                ___________Yes            ___________No

      E. CMP                   ___________Yes            ___________No

      F. Albin Rhomberg        ___________Yes            ___________No

      G. Troy Newman           ___________Yes            ___________No


                            * * * End of Section * * *




______________________________________________________________________________
                                       26
Section H—Recording (Florida Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 29 of 46




            Section I—Recording (Maryland Law)
   1. For each recording below, answer “Yes” or “No” as to whether a
      Plaintiff has established the recording violated Maryland Law.

     [Instructions II.I.1-2]

        A. PPFA via Dr. Nucatola at 2015 NAF by David Daleiden

           __________Yes ___________No



        B. PPFA via J. Castle at 2015 NAF by David Daleiden and Sandra

           Merritt

           __________Yes ___________No



        C. PPFA via D. VanDerhei at 2015 NAF by David Daleiden and

           Sandra Merritt

           __________Yes ___________No



        D. PPCFC via T. Nguyen at 2015 NAF - First Recording by Adrian

           Lopez

           __________Yes ___________No




______________________________________________________________________________
                                      27
Section I— Recording (Maryland Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 30 of 46




        E. PPCFC via T. Nguyen at 2015 NAF - Second Recording by

           David Daleiden

           __________Yes ___________No



        F. PPGC/PPCFC via J. Krugler at 2015 NAF - First Recording by

           Adrian Lopez

           __________Yes ___________No



        G. PPGC/PPCFC via J. Krugler at 2015 NAF - Second Recording

           by David Daleiden

           __________Yes ___________No



        H. PPCFC via Dr. Schutt-Aine at 2015 NAF - First Recording by

           Adrian Lopez

           __________Yes ___________No




______________________________________________________________________________
                                      28
Section I— Recording (Maryland Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 31 of 46




        I. PPCFC via Dr. Schutt-Aine at 2015 NAF - Second Recording

           by David Daleiden

           __________Yes ___________No

Answer the next question if you found at least one recording violated
Maryland law. Otherwise, skip to the next Section.


   2. In what amount, if any, was each Plaintiff damaged by Defendant(s)’
      violation of Maryland law?

     [Instructions II.I.1; II.L.1-3, 5-7]


    Damage
                          Plaintiff              Awarded Damages
    Category

Security             PPFA
                     (Nucatola)

Security             PPGC
                     (Schutt-Aine)

Answer the next question.




______________________________________________________________________________
                                            29
Section I— Recording (Maryland Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 32 of 46




   3. Which Defendants, if any, conspired to violate Maryland law?

     [Instructions II.K.1-2]

     A. David Daleiden         ___________Yes           ___________No

     B. Sandra Merritt         ___________Yes           ___________No

     C. Adrian Lopez           ___________Yes           ___________No

     D. BioMax                 ___________Yes           ___________No

     E. CMP                    ___________Yes           ___________No

     F. Albin Rhomberg         ___________Yes           ___________No

     G. Troy Newman            ___________Yes           ___________No

                           * * * End of Section * * *




______________________________________________________________________________
                                      30
Section I— Recording (Maryland Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 33 of 46




             Section J—Recording (Federal law)
   1. For each recording below, answer “Yes” or “No” as to whether a
      Plaintiff has established the recording violated Federal Law.

     [Instructions II.J.1-3]


        A. PPGC via M. Linton at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

           __________Yes ___________No



        B. PPFA via Dr. Westhoff at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        C. PPFA via J. Castle at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        D. PPFA via K. Flood at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

        __________Yes ___________No

______________________________________________________________________________
                                      31
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 34 of 46




        E. PPFA via J. Fils-Aime at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        F. PPFA via A. Grewer at 2015 PPFA National Conference by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        G. PPRM via Dr. Ginde at PPRM Stapleton Health Center by

           Sandra Merritt and David Daleiden

         __________Yes ___________No



        H. PPRM via J. Johnstone at PPRM Stapleton Health Center by

           Sandra Merritt and David Daleiden

        __________Yes ___________No



        I. PPGC via M. Farrell at PPGC Prevention Park Health Center

           by Sandra Merritt and David Daleiden

        __________Yes ___________No


______________________________________________________________________________
                                      32
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 35 of 46




        J. PPGC via Receptionist #1 at PPGC Prevention Park Health

           Center by Sandra Merritt and David Daleiden

        __________Yes ___________No



        K. PPGC via Receptionist #2 at PPGC Prevention Park Health

           Center by Sandra Merritt and David Daleiden

        __________Yes ___________No



        L. PPFA via Dr. Nucatola at 2015 NAF by David Daleiden

        __________Yes ___________No



        M. PPFA via J. Castle at 2015 NAF by David Daleiden and Sandra

           Merritt

        __________Yes ___________No



        N. PPFA via D. VanDerhei at 2015 NAF by David Daleiden and

           Sandra Merritt

        __________Yes ___________No




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                                      33
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 36 of 46




        O. PPCFC via T. Nguyen at 2015 NAF - First Recording by Adrian

           Lopez

         __________Yes ___________No



        P. PPCFC via T. Nguyen at 2015 NAF - Second Recording by

           David Daleiden

        __________Yes ___________No



        Q. PPGC/PPCFC via J. Krugler at 2015 NAF - First Recording by

           Adrian Lopez

        __________Yes ___________No



        R. PPGC/PPCFC via J. Krugler at 2015 NAF - Second Recording

           by David Daleiden

        __________Yes ___________No



        S. PPCFC via Dr. Schutt-Aine at 2015 NAF - First Recording by

           Adrian Lopez

        __________Yes ___________No


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                                      34
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 37 of 46




        T. PPCFC via Dr. Schutt-Aine at 2015 NAF - Second Recording

           by David Daleiden

        __________Yes ___________No



        U. PPFA via Dr. Nucatola at 2014 Forum - First Recording by

           Adrian Lopez and David Daleiden

          __________Yes ___________No



        V. PPFA via Dr. Nucatola at 2014 Forum - Second Recording by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        W. PPFA via K. Shea at 2014 Forum by Adrian Lopez and David

           Daleiden

        __________Yes ___________No



        X. PPPSGV via Dr. Gatter at 2014 Forum by Adrian Lopez and

           David Daleiden

        __________Yes ___________No


______________________________________________________________________________
                                      35
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 38 of 46




        Y. PPCCC via Dr. Siegfried at 2014 Forum by Adrian Lopez and

           David Daleiden

        __________Yes ___________No



        Z. PPRM via Dr. Ginde at 2014 Forum by David Daleiden

          __________Yes ___________No



        AA.      PPFA via J. Gupta at 2015 MeDC - First Recording by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        BB.      PPFA via J. Gupta at 2015 MeDC - Second Recording by

           Adrian Lopez and David Daleiden

        __________Yes ___________No



        CC.      PPFA via Dr. Nucatola at 2015 MeDC - First Recording

           by Adrian Lopez and David Daleiden

        __________Yes ___________No




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                                      36
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 39 of 46




        DD.      PPFA via Dr. Nucatola at 2015 MeDC - Second

           Recording by Adrian Lopez and David Daleiden

        __________Yes ___________No



        EE.      PPFA via D. VanDerhei at 2015 MeDC by Adrian Lopez

           and David Daleiden

        __________Yes ___________No



        FF.      PPPSGV via Dr. Mary Gatter at 2015 MeDC - First

           Recording by Adrian Lopez and David Daleiden

        __________Yes ___________No



        GG.       PPOSBC via Dr. Russo at 2015 MeDC - First Recording

           by Adrian Lopez and David Daleiden

        __________Yes ___________No



        HH.       B. PPGC via B. Smith at 2015 MeDC by David Daleiden

        __________Yes ___________No




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                                      37
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 40 of 46




        II. PPPSW via Dr. Moran at 2015 MeDC by Adrian Lopez and

           David Daleiden

        __________Yes ___________No



        JJ.PPPSW via Dr. Nguyen at 2015 MeDC by Adrian Lopez and

           David Daleiden

        __________Yes ___________No



        KK.      PPNorCal via Dr. Drummond-Hay at 2014 NAF by David

           Daleiden and Sandra Merritt

        __________Yes ___________No



        LL.      PPFA via Dr. Nucatola at 2014 NAF - First Recording by

           Sandra Merritt

        __________Yes ___________No



        MM.      PPFA via Dr. Nucatola at 2014 NAF - Second Recording

           by David Daleiden and Sandra Merritt

        __________Yes ___________No


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                                      38
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 41 of 46




        NN.      PPFA via Dr. Nucatola at Craft Restaurant by David

           Daleiden and Sandra Merritt

        __________Yes ___________No



        OO.      PPPSGV via Dr. Gatter at a/k/a Bistro by David Daleiden

           and Sandra Merritt

        __________Yes ___________No



        PP.      PPPSGV via L. Felczer at a/k/a Bistro by David Daleiden

           and Sandra Merritt

        __________Yes ___________No

Answer the next question if you found at least one recording violated
Federal law. Otherwise, skip to the next Section.




______________________________________________________________________________
                                      39
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 42 of 46




   2. In what amount, if any, was each Plaintiff damaged by Defendant(s)’
      violation of Federal law?

     [Instructions II.J.1; II.L.1-3, 5-7]

    Damage
                          Plaintiff             Awarded Damages
    Category

Security             PPFA

Security             PPGC

Security             PPOSBC

Security             PPPSGV

Answer the next question.




______________________________________________________________________________
                                        40
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 43 of 46




   4. Which Defendants, if any, conspired to violate Federal law?

   [Instructions II.K.1-2]

      A. David Daleiden         ___________Yes            ___________No

      B. Sandra Merritt         ___________Yes            ___________No

      C. Adrian Lopez           ___________Yes            ___________No

      D. BioMax                 ___________Yes            ___________No

      E. CMP                    ___________Yes            ___________No

      F. Albin Rhomberg         ___________Yes            ___________No

      G. Troy Newman            ___________Yes            ___________No


                             * * * End of Section * * *




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                                        41
Section J—Recording (Federal Law)
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 44 of 46




                    Section K—Punitive Damages

Answer this section only if you have found one or more Defendants liable
on one or more claims.

   1. Do you find by clear and convincing evidence that at least one
      Defendant is liable for punitive damages?

     [Instructions II.M.1-2]

     (Check one.)


     _________________Yes


     _________________No

If you answered “Yes,” to Question 1, answer the next question. If you
answered “No” to Question 1, skip the rest of this section.




______________________________________________________________________________
                                      42
Signature Page
     Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 45 of 46




   2. In what amount is each Defendant liable for punitive damages?

     [Instructions II.M.1-2]

     (You should only award punitive damages against a Defendant if you
     found against that Defendant on one or more of the following claims:
     Fraud, Trespass, Florida recording law, Maryland recording law, or
     Federal recording law.

     If you do not find an award of punitive damages is appropriate against
     a particular defendant, enter $0. Otherwise, enter a dollar amount
     below.)


     $_______________________________ David Daleiden


     $_______________________________ Sandra Merritt


     $_______________________________ BioMax


     $_______________________________ CMP


     $_______________________________ Troy Newman


     $_______________________________ Albin Rhomberg


                          * * * End of Section * * *




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                                      43
Signature Page
                                       Case 3:16-cv-00236-WHO Document 1011 Filed 11/12/19 Page 46 of 46




                                   1
                                                                           ***

                                   2   Once your deliberations are complete, sign and date this verdict form below.
                                   3

                                   4

                                   5   Dated:____________________                    ______________________
                                                                                     Presiding Juror
                                   6

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Northern District of California
 United States District Court




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